Case 3:21-cv-01737-S-BT Document9 Filed 09/22/21 Pagei1of1 PagelD 28

United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
JENNIFER BRADLEY §
V. CIVIL ACTION NO. 3:21-CV-1737-S-BT
MILESTONE DENTAL

ORDER
The United States Magistrate Judge made findings, conclusions, and a recommendation in
this case [ECF No. 8]. No objections were filed. The Court reviewed the proposed findings,
conclusions, and recommendation for plain error. Finding none, the Court ACCEPTS the
Findings, Conclusions, and Recommendation of the United States Magistrate Judge.
Plaintiff's complaint will be DISMISSED without prejudice by separate judgment.

SO ORDERED.

 

SIGNED September 22, 2021.

‘UNITED STATES DISTRICT JUDGE

 
